





















Opinion issued January 27, 2011.

&nbsp;


 
 
  
  
  
  
  
  
  
  
  
  
  
  
 
 
 

 


&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-10-00577-CV

———————————

JULIA
APARICIO PEREZ, Appellant

V.

ALEJANDRO B. PEREZ, Appellee



&nbsp;



&nbsp;

On Appeal from the 247th District Court 

Harris County, Texas



Trial Court Cause No. 9352718

&nbsp;



MEMORANDUM OPINION

Appellant has filed a motion to dismiss the
appeal.&nbsp; No opinion has issued.&nbsp; Accordingly, we grant the motion and dismiss
the appeal.&nbsp; See Tex. R. App. P. 42.1(a)(1).

We dismiss all other pending motions as moot.&nbsp; We direct the Clerk to issue the mandate
within 10 days of the date of this opinion.&nbsp;
See Tex. R. App. P. 18.1.

PER CURIAM

Panel
consists of Justices Jennings, Higley, and Brown.





